     Case 3:13-cr-00492-GPC                Document 487            Filed 05/19/14          PageID.1674       Page 1 of 4
AO 245B (CASDRev. 08113) Judgment in a Criminal Case for Revocations                                            FIL
                                    UNITED STATES DISTRICT COURT                                               MAY I 9 2014
                                         SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA                                JUDGMENT IN A eRI
                                                                    (For Revocation of Probation o;;r'~S~u;pe~r;vi~se~~e~e~~~=~~ill
                                                                    (For Offenses Committed On or After November 1, 198
                               v.
      DANIEL ENRIQUE MILLAN-AISPURO (15)
                                                                       Case Number:        13CR0492-GPC

                                                                    CAROLOS C RUAN
                                                                    Defendant's Attorney
REGISTRATION NO.               37467298
0"
~   admitted gUilt to violation ofallegation(s) No.        1

    was found guilty in violation of allegation(s) No.
                                                         ------------------------ after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty ofthe following allegation(s):

Allegation Number                Nature of Violation
            1                    Not Commit another federal, state, or local crime.




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 4 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     May 16.2014

                                                                     Dateof~::Z~zQ
                                                                     HON. Gonzalo P. Curiel                           0:::::::,

                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                  13CR0492-GPC
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AD 24SB (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

DEFENDANT:                DANIEL ENRIQUE MILLAN-AISPURD (15)                                      Judgment - Page 2 of 4
CASE NUMBER:              13CR0492-GPC

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
2 months to run consecutively with USDC Southern District California case 14CRI035-GPC.




D      Sentence imposed pursuant to Title 8 USC Section 1326(b).
D      The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.

D      The defendant shall surrender to the United States Marshal for this district:
       D    at                             A.M.              on
       D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
       Prisons:
             on or before
       D    as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to ------------------------------
at
     ----------------------- • with a certified copy of this judgment.

                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        13CR0492-GPC
            Case 3:13-cr-00492-GPC                  Document 487              Filed 05/19/14            PageID.1676             Page 3 of 4
    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

    DEFENDANT:                   DANIEL ENRIQUE MILLAN-AlSPURO (IS)                                                           Judgment - Page 3 of 4
    CASE NUMBER:                 13CR0492-GPC

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
34 months.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
    such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
    Payments set forth in this judgment.
       The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
    with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.




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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

DEFENDANT:            DANIEL ENRIQUE MILLAN-AlSPURO (15)                                   Judgment - Page 4 of 4
CASE NUMBER:          13 CR0492-GPC

                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Reside in a Residential Reentry Center, RRC, as directed by the probation officer for a period of six (6)
        months.

     3. Participate in a cognitive behavioral treatment program as directed by the probation officer, and if
        deemed necessary by the probation officer. Such program may include group sessions led by a
        counselor, or participation in a program administered by the probation office. The defendant may be
        required to contribute to the cost of the service rendered (copayment) in the amount to be determined by
        the probation officer, based on the defendant's ability to pay.

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